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            4                                  UNITED STATES DISTRICT COURT
            5                               NORTHERN DISTRICT OF CALIFORNIA
            6                                            OAKLAND DIVISION
            7    ROBERT ROSS,                                        CASE NO. 4:19-CV-06669 (JST)
            8                         Plaintiff,                     [PROPOSED] ORDER EXTENDING
                                                                     SCHEDULING ORDER DEADLINES
            9           v.
           10    AT&T MOBILITY LLC, ONE TOUCH
                 DIRECT, LLC, and, ONE TOUCH DIRECT-
           11    SAN ANTONIO, LLC,
           12                         Defendant.
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                             [PROPOSED] ORDER EXTENDING SCHEDULING ORDER DEADLINES
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                        Upon consideration of the stipulation filed by the parties, it is ORDERED that the Revised
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                 Scheduling Order (Dkt. 42) is amended as follows:
           19
                        Fact discovery cutoff – April 8, 2022
           20
                        Expert disclosures – April 22, 2022
           21
                        Expert rebuttal – May 27, 2022
           22
                        Dispositive motion hearing date – August 19, 2022
           23
                        Pretrial conference statement – October 28, 2022
           24
                        Pretrial conference – November 4, 2022
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                        Trial – December 5, 2022
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Gibson, Dunn &                                                   1
Crutcher LLP
                                  [PROPOSED] ORDER EXTENDING SCHEDULING ORDER DEADLINES
                                                 CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 123 Filed 10/05/21 Page 2 of 2


            1          IT IS SO ORDERED.
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                 Dated: October 5, 2021
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            5                                         Honorable Jon S. Tigar
            6                                         United States District Judge

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Gibson, Dunn &                                             2
Crutcher LLP
                                 [PROPOSED] ORDER EXTENDING SCHEDULING ORDER DEADLINES
                                                CASE NO. 4:19-CV-06669 (JST)
